       Case 1:21-cr-00195-CKK Document 126-1 Filed 04/26/23 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 )     Docket No. 1:21-cr-00195
                                         )
                                         )
             v.                          )     ELECTRONICALLY FILED
                                         )
                                         )
DEBORAH SANDOVAL                         )
                                         )
             Defendant.                  )


                                  ORDER OF COURT

      AND NOW, to-wit, on this _____ day of April 2023, upon full consideration of the

foregoing Motion to Conduct Sentencing Hearing Via Videoconference, it is hereby ORDERED,

ADJUDGED and DECREED that said motion is GRANTED.



                                               BY THE COURT:




                                               ____________________________, J.
                                               Colleen Kollar-Kotelly
                                               United States District Judge
